       Case 1:20-cv-04809-TCB Document 42 Filed 12/03/20 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

      Plaintiffs,
                                        CIVIL ACTION FILE
v.
                                        NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

      Defendants.



                               ORDER

     The Democratic Party of Georgia, the DSCC, and the DCCC’s

motion [20] to intervene and emergency motion [41] to intervene are
          Case 1:20-cv-04809-TCB Document 42 Filed 12/03/20 Page 2 of 2




hereby granted.1 The Clerk is directed to add these entities as parties

and to docket their proposed motion to dismiss [20-1], brief in support of

motion to dismiss [20-2], and answer [20-3].

      IT IS SO ORDERED this 3d day of December, 2020.



                                      ____________________________________
                                      Timothy C. Batten, Sr.
                                      United States District Jud




      1Because the motion to intervene involves a collateral matter not involved in
the appeal, the Court retains jurisdiction over the motion.

                                         2
